              Case 3:20-cv-09203-EMC Document 29 Filed 03/22/21 Page 1 of 2



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13
                                  THE UNITED STATES DISTRICT COURT

14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                    SAN FRANCISCO DIVISION

16   MEREDITH CALLAHAN AND LAWRENCE
     GEOFFREY ABRAHAM, on behalf of
17   themselves and all others similarly situated, Case No. 3:20-cv-09203-EMC
18
                    Plaintiffs,
19                                                    NOTICE OF VOLUNTARY DISMISSAL
     v.                                               WITHOUT PREJUDICE
20
     PEOPLECONNECT, INC., a Delaware
21
     Corporation; PEOPLECONNECT INC., a
22   California Corporation; CLASSMATES
     MEDIA CORPORATION, a Delaware
23   Corporation; and DOES 1 through 50, inclusive,
24                  Defendants.
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     NOTICE OF VOLUNTARY DISMISSAL                               Case No. 3:20-cv-09203
              Case 3:20-cv-09203-EMC Document 29 Filed 03/22/21 Page 2 of 2



1           NOTICE IS HEREBY GIVEN that, pursuant to Federal Rules of Civil Procedure 41(a),
2     Plaintiffs, Meredith Callahan and Lawrence Geoffrey Abraham, on behalf of themselves and
3     other similarly situated, voluntarily dismiss without prejudice the above-entitled action
4     against Defendants, PeopleConnect Inc, a California Corporation and Classmates Media
5     Corporation, only. This notice of dismissal is being filed with the Court before service by
6     Defendants of either an answer or a motion for summary judgment.
7           Plaintiffs further state the above-entitled action remains against Defendant,
8     PeopleConnect, Inc., a Delaware Corporation.
9

10   Dated: March 19, 2021                                    By:          /s/ Michael F. Ram
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                                                                           Michael F. Ram

12                                                                  Michael F. Ram (SBN 104805)
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                                Judge E                             Benjamin R. Osborn
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                                                                    (Admitted Pro Hac Vice)
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                                                                    Attorneys for Plaintiffs
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                                                                    and the Proposed Class
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     NOTICE OF VOLUNTARY DISMISSAL                        2                       Case No. 3:20-cv-09203
